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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:11-CR-00076 LKK
11                                 Plaintiff,           STIPULATION AND ORDER TO
                                                        CONTINUE STATUS CONFERENCE,
12          vs.                                         AND TO EXCLUDE TIME PURSUANT
                                                        TO THE SPEEDY TRIAL ACT
13   CRESCENCIO DELGADO-EZQUIVEL, et
     al.,
14
                                   Defendants.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Samuel Wong, Assistant United States Attorney, attorney for plaintiff;
18   Michael E. Hansen, attorney for defendant Norma Gonzalez; Douglas Beevers, attorney for
19   defendant Crescencio Delgado-Ezquivel; Danny D. Brace, Jr., attorney for defendant Armando
20   Vasquez-Barragan; Dina Santos, attorney for defendant Waldo Perez-Mendoza; and Dwight
21   Samuel, attorney for defendant Victor Gonzalez, that the previously-scheduled status
22   conference date of December 13, 2011, be vacated and the matter set for status conference on
23   February 28, 2012, at 9:15 a.m.
24          This continuance is requested to allow counsel additional time to review discovery with
25   the defendants, to examine possible defenses and to continue investigating the facts of the case.
26   Plea agreements for some defendants are expected to be tendered shortly after ongoing
27   negotiations are completed. These tasks are made more difficult and time-consuming because
28   many of the defendants are Spanish language speakers and communications with their counsel


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 1   need to be conducted with the assistance of a Spanish-English language interpreter and/or the
 2   defendants are housed in outlying county jails outside of Sacramento County. Defense counsel
 3   need additional time to explain the ramifications of any proposed plea agreements to their
 4   respective clients and to prepare their respective client’s defense in the event that there is no
 5   pretrial resolution of this case. Further, all parties stipulate and agree that the Court shall find
 6   this case complex and unusual within the meaning of 18 U.S.C. sections 3161(h)(A) and (B)(ii)
 7   and Local Code T-2 because defendant Delgado-Ezquivel is named as a defendant in two
 8   separate methamphetamine conspiracy and trafficking Indictments with multiple Spanish
 9   speaking only co-defendants, multiple counts, and numerous Spanish language audio
10   recordings that must be translated to English, all of which make it unreasonable to expect
11   adequate preparation for pretrial proceedings and trial itself within the time limits established
12   in 18 U.S.C. Section 3161.
13           The Government concurs with this request.
14           Further, the parties agree and stipulate that the Court shall find the ends of justice
15   served by the granting of such a continuance outweigh the best interests of the public and the
16   defendants in a speedy trial and that time within which the trial of this case must be
17   commenced under the Speedy Trial Act should therefore be excluded under 18 U.S.C. sections
18   3161(h)(7)(A) and (B)(iv), corresponding to Local Code T-4 (to allow defense counsel time to
19   prepare), from the date of the parties’ stipulation, December 9, 2011, to and including
20   February 28, 2012.     The parties    further stipulate and agree that the failure to grant the
21   requested continuance in this case would deny counsel for defendants reasonable time
22   necessary for effective preparation, taking into account the exercise of due diligence.
23           Accordingly, the parties respectfully request the Court adopt this proposed stipulation
24   as its order.
25           IT IS SO STIPULATED.
26   Dated: December 9, 2011                               Respectfully submitted,
27                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
28                                                         Attorney for Defendant
                                                           NORMA GONZALEZ

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 1   Dated: December 9, 2011                               /s/ Michael E. Hansen for
                                                           DOUGLAS BEEVERS
 2                                                         Attorney for Defendant
                                                           CRESCENCIO DELGADO-EZQUIVEL
 3
     Dated: December 9, 2011                               /s/ Michael E. Hansen for
 4                                                         DANNY D. BRACE, JR.
                                                           Attorney for Defendant
 5                                                         ARMANDO VASQUEZ-BARRAGAN
 6   Dated: December 9, 2011                               /s/ Michael E. Hansen for
                                                           DINA SANTOS
 7                                                         Attorney for Defendant
                                                           WALDO PEREZ-MENDOZA
 8
     Dated: December 9, 2011                               /s/ Michael E. Hansen for
 9                                                         DWIGHT SAMUEL
                                                           Attorney for Defendant
10                                                         VICTOR GONZALEZ
11   Dated: December 9, 2011                               BENJAMIN B. WAGNER
                                                           United States Attorney
12
                                                           By: /s/ Michael E. Hansen for
13                                                         SAMUEL WONG
                                                           Assistant U.S. Attorney
14                                                         Attorney for Plaintiff
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16                                               ORDER
17          The Court, having received, read, and considered the stipulation of the parties, and
18   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
19   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
20   finds that this case is unusual and complex in that it is unreasonable to expect adequate
21   preparation for pretrial proceedings and trial itself within the time limits established in 18
22   U.S.C. Section 3161. In addition, the Court specifically finds that the failure to grant a
23   continuance in this case would deny defense counsel to this stipulation reasonable time
24   necessary for effective preparation, taking into account the exercise of due diligence. The
25   Court finds that the ends of justice to be served by granting the requested continuance
26   outweigh the best interests of the public and the defendants in a speedy trial.
27          The Court orders that the time from the date of the parties’ stipulation, December 9,
28   2011, to and including February 28, 2012, shall be excluded from computation of time within


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 1   which the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18
 2   U.S.C. section 3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T-2 (complex and unusual
 3   case) and T-4 (reasonable time for defense counsel to prepare). It is further ordered that the
 4   December 13, 2011, status conference shall be continued until February 28, 2012, at 9:15 a.m.
 5          IT IS SO ORDERED.
 6   Dated: December 12, 2011
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